






NO. 07-04-0544-CV



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL D



NOVEMBER 30, 2004



______________________________



IN RE MICHAEL LOU GARRETT



_________________________________




Before QUINN and REAVIS and CAMPBELL, JJ.

MEMORANDUM OPINION


	Relator Michael Lou Garrett seeks a writ of mandamus ordering respondent, the
Honorable John B. Board, Judge of the 181st District Court of Potter County, to rule on a
motion pending in cause number 91,954-B. We dismiss the petition.

	Relator filed his petition for a writ of mandamus with this Court on November 18,
2004. In the petition he complains that Judge Board has failed to rule on relator's motion
for a temporary restraining order and a preliminary injunction.  The clerk of the 181st District
Court has provided this Court with a copy of an order signed by Judge Board on November
19, 2004, denying the motion.  Because the trial court has ruled on the motion, as
requested by relator, relator's request for a writ of mandamus is moot. Accordingly, the
petition for writ of mandamus is dismissed. 

							Per Curiam				



at appellant had committed three violations
of his community supervision.  After a hearing on June 12, 2006, the trial court found the
allegations true, revoked appellant's community supervision, and ordered appellant to
serve the seven year sentence in the Institutional Division of the Texas Department of
Criminal Justice.  

	Appellant filed his notice of appeal contending that (1) the trial court abused its
discretion in revoking appellant's community supervision because the evidence was
insufficient to support the trial court's determination and, (2) that the revocation of his
community supervision constituted a denial of appellant's right to due process under the
United States and Texas Constitutions.

	In the present case, the State alleged three violations of community supervision by
appellant: (1) commission of a new offense against state law; (2) failure to perform
community service hours as required by the order placing appellant on community
supervision; and (3) operation of a motor vehicle without an ignition interlock device.  At
the revocation hearing, appellant pled true to each of the allegations.

	A trial court's determinations during revocation hearings are reviewed for an abuse
of discretion.  See Jackson v. State, 645 S.W.2d 303, 305 (Tex.Crim.App. 1983).   An
appellant's plea of true, standing alone, is sufficient to support the revocation of community
supervision.  See Cole v. State, 578 S.W.2d 127, 128 (Tex.Crim.App. 1979).  To meet the
requirements of due process, the final revocation of community supervision must be
preceded by a hearing, where the defendant is entitled to written notice of the claimed
violations of his community supervision, disclosure of the evidence against him, an
opportunity to be heard in person and to present witnesses and documentary evidence,
a neutral hearing body, and a written statement by the fact finder as to the evidence relied
on and the reasons for revoking community supervision. See Ex parte Carmona, 185
S.W.3d 492, 495 (Tex.Crim.App. 2006).  A trial court denies appellant due process if it
arbitrarily refuses to consider the entire range of punishment for an offense or if it refuses
to consider the evidence and imposes a predetermined punishment.  Jefferson v. State,
803 S.W.2d 470, 471 (Tex.App.-Dallas 1991, pet. ref'd).    

	Considering that appellant pled true to all three violations, where any one of the
violations would be sufficient to revoke appellant's community supervision, we conclude
that the trial court did not abuse its discretion in making affirmative findings that the
evidence was sufficient to prove by a preponderance of the evidence that appellant had
violated his community supervision.  See Cole, 578 S.W.2d at 128.   We overrule
appellant's first issue.

	Next, appellant contends that the trial court did not consider mitigating evidence and
predetermined appellant's punishment.  Appellant contends that the trial court's comments
that "I thought . . . I had given you my best speech . . . about people on felony DWI
probation. . . I have never seen anybody get as many breaks as you seem to have
received" demonstrate that the trial court was biased and had predetermined to revoke
appellant's community supervision and sentence him to the maximum sentence available. 
Appellant contends that he was denied due process because he was not afforded a neutral
hearing body.  See Ex parte Carmona, 185 S.W.3d at 495.  However, the trial court also
stated, "based upon the evidence presented, and your plea as entered, . . . the probation
previously granted to you is hereby revoked."  Further, the comments appellant complains
of were made after appellant, his mother, step-grandmother, and friend testified on
appellant's behalf.  Additionally, appellant has not shown, by record reference, that the trial
court disregarded the witnesses' testimony.  Finally, the trial court's references to previous
admonishments and warnings given to appellant, without further evidence of bias, do not
demonstrate that the trial court predetermined appellant's sentence.  See   Brumit v. State,
206 S.W.3d 639, 645 (Tex.Crim.App. 2006) (warning alone insufficient to conclude trial
court predetermined sentence); See also Prater v. State, No. 07-06-0373-CR, 2007 WL
911836, *1 (Tex.App.-Amarillo March 27, 2007, no pet. h.) (mem. op., not  designated for
publication).  Absent a clear showing of bias, a trial court's actions will be presumed to
have been correct.  Brumit, 206 S.W.3d at 645.   We conclude that the trial court did not
deny appellant due process by revoking appellant's community supervision.  We overrule
appellant's second issue.

Conclusion

	For the foregoing reasons, we affirm the trial court's revocation of appellant's
community supervision.  	

						Mackey K. Hancock

                 Justice



Do not publish.   


